Case 4:19-cv-07123-PJH Document 20-11 Filed 02/27/20 Page 1 of 5




      EXHIBIT 8
11/11/2019            Case 4:19-cv-07123-PJH      Document
                                       Tracking, Track            20-11Shipments
                                                       Parcels, Packages, Filed |02/27/20     Page 2 of 5
                                                                                 DHL Express Tracking

                                                                                   English        Contact Center             DHL Worldwide




Track DHL Express Shipments
Here’s the fastest way to check the status of your shipment. No need to call Customer Service – our online results give you real-time, detailed
progress as your shipment speeds through the DHL network.



Result Summary
        Waybill: 4566404216                             Sunday, November 10, 2019 at 13:10                         1 Piece
                                                        Origin Service Area:
        Signed for by: MSCIRA KABALA LE                  SAN FRANCISCO, CA - SAN FRANCISCO - USA
        SLEV KOMA 14                                    Destination Service Area:
         Get Signature Proof of Delivery                 LOD - Herzliya - ISRAEL


 Sunday, November 10, 2019                              Location                                  Time        Piece
 22      Delivered - Signed for by: MSCIRA KABALA       Herzliya                                  13:10            1 Piece
         LE SLEV KOMA 14
 21      With delivery courier                          LOD - ISRAEL                              09:15            1 Piece

 Thursday, November 07, 2019                            Location                                  Time        Piece

 20      Arrived at Sort Facility LEIPZIG - GERMANY     LEIPZIG - GERMANY                         23:49            1 Piece

 19      Scheduled for delivery as agreed               LOD - ISRAEL                              19:00

 18      Arrived at Delivery Facility in LOD - ISRAEL   LOD - ISRAEL                              13:00            1 Piece
 17      Departed Facility in TEL AVIV - ISRAEL         TEL AVIV - ISRAEL                         12:48            1 Piece

 16      Processed at TEL AVIV - ISRAEL                 TEL AVIV - ISRAEL                         12:48            1 Piece
 15      Clearance processing complete at TEL AVIV -    TEL AVIV - ISRAEL                         10:24
         ISRAEL

 14      Arrived at Sort Facility TEL AVIV - ISRAEL     TEL AVIV - ISRAEL                         10:09            1 Piece
 13      Customs status updated                         TEL AVIV - ISRAEL                         09:34

 12      Departed Facility in LEIPZIG - GERMANY         LEIPZIG - GERMANY                         04:06            1 Piece

 11      Processed at LEIPZIG - GERMANY                 LEIPZIG - GERMANY                         01:32            1 Piece

 Wednesday, November 06, 2019                           Location                                  Time        Piece

 10      Arrived at Sort Facility LEIPZIG - GERMANY     LEIPZIG - GERMANY                         23:28            1 Piece
 9       Departed Facility in LOS ANGELES               LOS ANGELES GATEWAY, CA - USA             03:32            1 Piece
         GATEWAY - USA

 8       Processed at LOS ANGELES GATEWAY -             LOS ANGELES GATEWAY, CA - USA             03:03            1 Piece
         USA

 7       Shipment on hold                               LOS ANGELES GATEWAY, CA - USA             01:19            1 Piece

 Tuesday, November 05, 2019                             Location                                  Time        Piece

 6       Arrived at Sort Facility LOS ANGELES           LOS ANGELES GATEWAY, CA - USA             22:40            1 Piece
         GATEWAY - USA
 5       Departed Facility in SAN FRANCISCO             SAN FRANCISCO GATEWAY, CA - USA           21:38            1 Piece
         GATEWAY - USA

 4       Transferred through SAN FRANCISCO              SAN FRANCISCO GATEWAY, CA - USA           19:48            1 Piece
         GATEWAY - USA

 3       Departed Facility in SAN FRANCISCO - USA       SAN FRANCISCO, CA - USA                   19:13            1 Piece

 2       Processed at SAN FRANCISCO - USA               SAN FRANCISCO, CA - USA                   19:13            1 Piece

 1       Shipment picked up                             SAN FRANCISCO, CA - USA                   17:40            1 Piece



https://www.dhl.com/en/express/tracking.html?AWB=4566404216&brand=DHL                                                                        1/2
11/11/2019          Case 4:19-cv-07123-PJH      Document
                                     Tracking, Track            20-11Shipments
                                                     Parcels, Packages, Filed |02/27/20     Page 3 of 5
                                                                               DHL Express Tracking


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11/11/2019            Case 4:19-cv-07123-PJH      Document
                                       Tracking, Track            20-11Shipments
                                                       Parcels, Packages, Filed |02/27/20     Page 4 of 5
                                                                                 DHL Express Tracking

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progress as your shipment speeds through the DHL network.



Result Summary
        Waybill: 4566413283                             Sunday, November 10, 2019 at 13:10                         1 Piece
                                                        Origin Service Area:
        Signed for by: DOR SOMER KABALA                  SAN FRANCISCO, CA - SAN FRANCISCO - USA
         Get Signature Proof of Delivery                Destination Service Area:
                                                         LOD - Herzliya - ISRAEL

 Sunday, November 10, 2019                              Location                                  Time        Piece
 22      Delivered - Signed for by: DOR SOMER           Herzliya                                  13:10            1 Piece
         KABALA

 21      With delivery courier                          LOD - ISRAEL                              09:15            1 Piece

 Thursday, November 07, 2019                            Location                                  Time        Piece

 20      Arrived at Sort Facility LEIPZIG - GERMANY     LEIPZIG - GERMANY                         23:49            1 Piece
 19      Scheduled for delivery as agreed               LOD - ISRAEL                              19:00

 18      Arrived at Delivery Facility in LOD - ISRAEL   LOD - ISRAEL                              13:00            1 Piece
 17      Departed Facility in TEL AVIV - ISRAEL         TEL AVIV - ISRAEL                         12:48            1 Piece

 16      Processed at TEL AVIV - ISRAEL                 TEL AVIV - ISRAEL                         12:48            1 Piece

 15      Clearance processing complete at TEL AVIV -    TEL AVIV - ISRAEL                         10:17
         ISRAEL

 14      Arrived at Sort Facility TEL AVIV - ISRAEL     TEL AVIV - ISRAEL                         10:09            1 Piece
 13      Customs status updated                         TEL AVIV - ISRAEL                         09:34

 12      Departed Facility in LEIPZIG - GERMANY         LEIPZIG - GERMANY                         04:06            1 Piece

 11      Processed at LEIPZIG - GERMANY                 LEIPZIG - GERMANY                         01:32            1 Piece
 Wednesday, November 06, 2019                           Location                                  Time        Piece

 10      Arrived at Sort Facility LEIPZIG - GERMANY     LEIPZIG - GERMANY                         23:28            1 Piece

 9       Departed Facility in LOS ANGELES               LOS ANGELES GATEWAY, CA - USA             03:32            1 Piece
         GATEWAY - USA
 8       Processed at LOS ANGELES GATEWAY -             LOS ANGELES GATEWAY, CA - USA             03:03            1 Piece
         USA

 7       Shipment on hold                               LOS ANGELES GATEWAY, CA - USA             01:19            1 Piece
 Tuesday, November 05, 2019                             Location                                  Time        Piece

 6       Arrived at Sort Facility LOS ANGELES           LOS ANGELES GATEWAY, CA - USA             22:40            1 Piece
         GATEWAY - USA

 5       Departed Facility in SAN FRANCISCO             SAN FRANCISCO GATEWAY, CA - USA           21:38            1 Piece
         GATEWAY - USA

 4       Transferred through SAN FRANCISCO              SAN FRANCISCO GATEWAY, CA - USA           19:48            1 Piece
         GATEWAY - USA

 3       Departed Facility in SAN FRANCISCO - USA       SAN FRANCISCO, CA - USA                   19:13            1 Piece

 2       Processed at SAN FRANCISCO - USA               SAN FRANCISCO, CA - USA                   19:13            1 Piece

 1       Shipment picked up                             SAN FRANCISCO, CA - USA                   17:40            1 Piece




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11/11/2019          Case 4:19-cv-07123-PJH      Document
                                     Tracking, Track            20-11Shipments
                                                     Parcels, Packages, Filed |02/27/20     Page 5 of 5
                                                                               DHL Express Tracking


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